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                                                                                                           Central District of California
                                                                                                           BY sumlin     DEPUTY CLERK
 Attorneys for Plaintiff, Bradley D. Sharp,
 Chapter 11 Trustee
                                                                                                 CHANGES MADE BY COURT
       Attorney for Movant
       Movant appearing without an attorney

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:23-bk-10990-NB

 Leslie Klein                                                                 CHAPTER: 11

                                                                                        ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                             (REAL PROPERTY)

                                                                              DATE: May 6, 2025
                                                                              TIME: 1:00 p.m.
                                                                              COURTROOM: 1545
                                                                              PLACE: 255 East Temple Street, Los Angeles, CA 90012


                                                                  Debtor.

 Movant: NewRez LLC d/b/a Shellpoint Mortgage Servicing, as servicer for J.P. Morgan Mortgage Acquisition Corp.



1. The Motion was:                  Opposed               Unopposed                Settled by stipulation

2. The Motion affects the following real property (Property):

     Street address:        143 South Highland Avenue
     Unit/suite number:
     City, state, zip code: Los Angeles, California 90036

     Legal description or document recording number (including county of recording):
     20190316566 In Los Angeles County, California


          See attached page.

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3. The Motion is granted under:
      a.         11 U.S.C. § 362(d)(1)
      b.         11 U.S.C. § 362(d)(2)
      c.         11 U.S.C. § 362(d)(3)
      d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                      secured creditor or court approval; and/or
           (2)        Multiple bankruptcy cases affecting the Property.
           (3)        The court        makes      does not make         cannot make
                      a finding that the Debtor was involved in this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
               years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
               this title may move for relief from this order based upon changed circumstances or for good cause shown,
               after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or
               liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in Exhibit A to this order.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before (date)                                       .

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.


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13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.        Other (specify): This Court has reviewed the proposed orders submitted by Movant’s counsel (dkt. 1080) and
      Trustee’s counsel (dkt. 1081) and has determined that the Trustee’s proposed order more accurately describes the
      relief granted by this Court. All rights are reserved for Movant to seek reconsideration of this Order if it believes its
      rights have been prejudiced by the adopted modifications to its proposed order.

                                                                             ###




                    Date: May 15, 2025




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                                                                     EXHIBIT A


The automatic stay under 11 U.S.C. § 362(a) is hereby modified solely with respect to the Property described in
Paragraph 2 of the order and the Movant, NewRez LLC d/b/a Shellpoint Mortgage Servicing, as servicer for J.P. Morgan
Mortgage Acquisition Corp., is hereby permitted to enforce all rights with respect to the Property but the automatic stay
otherwise remains in effect.




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